Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 1 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 2 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 3 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 4 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 5 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 6 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 7 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 8 of 9
Case 19-13898-VFP   Doc 1   Filed 02/26/19 Entered 02/26/19 16:23:24   Desc Main
                            Document      Page 9 of 9
